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EXHIBIT A

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
NEENAH ENTERPRISES, INC., et al.,’ Case No. 10-10360 (MFW)
Debtors. Jointly Administered
Ref. Doc. No.

ORDER AUTHORIZING THE FILING
UNDER SEAL OF CERTAIN FEE LETTERS RELATING TO
THE DEBTORS’ PROPOSED EXIT FINANCING FACILITIES

Upon consideration of the Motion’ for entry of an order, pursuant to section

107(b) of title 11 of the United States Code (the “Bankruptcy Code”), Rule 9018 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 9018-1(b) of the Local Rules
of Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the District of
Delaware (the “Local Rules”), authorizing the filing under seal of certain Exit Facility Fee
Letters relating to the proposed Exit Facilities; and it appearing that this Court has jurisdiction
over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that this Motion is a
core proceeding pursuant to 28 U.S.C. § 157; and adequate notice of the Motion and opportunity
for objection having been given; and it appearing that no other notice need be given; and after
due deliberation and sufficient cause therefor, it is hereby:

ORDERED that the Motion is granted; and it is further

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Neenah Enterprises, Inc. (8281); NFC Castings, Inc. (7913); Neenah Foundry Company (0331); Cast
Alloys, Inc. (1223); Neenah Transport, Inc. (8433); Advanced Cast Products, Inc. (7691); Gregg Industries, Inc.
(8664); Mercer Forge Corporation (1711); Deeter Foundry, Inc. (5148); Dalton Corporation (9770); Belcher
Corporation (3193); Peerless Corporation (4462); A&M Specialties, Inc. (1756); Dalton Corporation, Warsaw
Manufacturing Facility (4775); Dalton Corporation, Ashland Manufacturing Facility (3079); Dalton Corporation,
Kendallvitle Manufacturing Facility (4777); Dalton Corporation, Stryker Machining Facility Co. (3080), and
Morgan’s Welding, Inc. (1300). The mailing address for each Debtor is 2121 Brooks Avenue, Neenah, WI 54957.

* Capitalized terms used but not defined herein have the meanings assigned to such terms in the Motion.
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ORDERED that the Debtors are authorized to file the Exit Facility Fee Letters
under seal; and it is further

ORDERED, that the Exit Facility Fee Letters shall remain under seal and
confidential and, except as provided in the next paragraph, shall not be made available to anyone
other than the Court unless otherwise authorized by the Court; and it is further

ORDERED, that the Debtors shall provide copies of the Exit Facility Fee Letters
on a confidential basis to counsel for the U.S. Trustee and counsel for the Committee; and it is
further

ORDERED that all parties to whom the Debtors provide the Exit Facility Fee
Letters are directed to maintain the strict confidentiality of the Exit Facility Fee Letters and the
information contained therein; and it is further

ORDERED that the Debtors are authorized and empowered to take all actions
necessary to implement the relief granted in this Order; and it is further

ORDERED that this Court retains jurisdiction with respect to all matters arising
from or related to the implementation of this Order.

Dated: July_, 2010
Wilmington, Delaware

MARY F. WALRATH
UNITED STATES BANKRUPTCY JUDGE
